           EXHIBIT A




Case 4:19-cv-00332-SRB Document 1368-1 Filed 01/26/24 Page 1 of 3
From: Michael Ketchmark <mike@ketchmclaw.com>
Date: January 4, 2024 at 7:19:14 PM CST
To: "Glass, Ethan" <eglass@cooley.com>, Scott McCreight <smccreight@ketchmclaw.com>, Brandon Boulware
<brandon@boulware‐law.com>, Eric Dirks <dirks@williamsdirks.com>
Cc: Christopher Michel <christophermichel@quinnemanuel.com>, John Bash <johnbash@quinnemanuel.com>,
Mike Bonanno <mikebonanno@quinnemanuel.com>
Subject: RE: Burnett Post‐trial Motions and more


                                                    [EXTERNAL EMAIL from mike@ketchmclaw.com]


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    picture from the




Ethan –

                           We are not engaging in this debate.

Mike

From: Glass, Ethan <eglass@cooley.com>
Sent: Thursday, January 4, 2024 7:42 PM
To: Scott McCreight <smccreight@ketchmclaw.com>; Michael Ketchmark <mike@ketchmclaw.com>; Brandon
Boulware <brandon@boulware‐law.com>; Eric Dirks <dirks@williamsdirks.com>
Cc: Christopher Michel <christophermichel@quinnemanuel.com>; John Bash <johnbash@quinnemanuel.com>;
Mike Bonanno <mikebonanno@quinnemanuel.com>
Subject: Re: Burnett Post‐trial Motions and more

Hi Scott, can you please identify the authority you are relying on for your position that materials presented to
the jury had to be filed by some particular time?

Mobile:

From: Scott McCreight <smccreight@ketchmclaw.com>
Sent: Friday, December 29, 2023 2:39 PM
To: 'Glass, Ethan' <eglass@cooley.com>; Michael Ketchmark <mike@ketchmclaw.com>; Brandon Boulware
<brandon@boulware‐law.com>; Eric Dirks <dirks@williamsdirks.com>

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                              Case 4:19-cv-00332-SRB Document 1368-1 Filed 01/26/24 Page 2 of 3
Cc: Christopher Michel <christophermichel@quinnemanuel.com>; John Bash <johnbash@quinnemanuel.com>;
Mike Bonanno <mikebonanno@quinnemanuel.com>
Subject: RE: Burnett Post‐trial Motions and more

[External]

Ethan

We can’t agree to your request for 6 briefs of 30 pages each, that’s way too excessive. Also, the time for making
a record was at trial and we will not be making any further filings regarding trial materials.

Thanks
Scott

From: Glass, Ethan <eglass@cooley.com>
Sent: Friday, December 29, 2023 12:13 PM
To: Michael Ketchmark <mike@ketchmclaw.com>; Scott McCreight <smccreight@ketchmclaw.com>; Brandon
Boulware <brandon@boulware‐law.com>; Eric Dirks <dirks@williamsdirks.com>
Cc: Christopher Michel <christophermichel@quinnemanuel.com>; John Bash <johnbash@quinnemanuel.com>;
Mike Bonanno <mikebonanno@quinnemanuel.com>
Subject: Burnett Post‐trial Motions and more

Hi guys,

First, I wanted to introduce you to John, Chris, and Mike (copied). They are leading the Burnett appeal for NAR. I
will continue to be the lead before Bough, but you can contact any of us.

Second, will you agree that each defendant group (NAR, KW, and HSA) gets up to 30 pages each for our Rule
50(b) and 59 motions? We expect each Defendant group will file separate briefs from each other and for the
two motions, so 6 briefs of 30 pages each.

Third, some of the material that was shown to the jury was not filed. For example, we each used slides in
opening and closing that, while not evidence, are part of the record and have not been filed. Can we agree all
parties will file any visual presentations (slides, videos, etc) they showed to the jury by COB on 1/4?

Best, eg

Mobile:



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